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 8                             IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,             )              No. 4-06-70440 WDB
                                           )
12                     Plaintiff,          )              ORDER MODIFYING JEANNE LILLY’S
                                           )              BOND TO PERMIT TRAVEL TO THE
13   vs.                                   )              EASTERN DISTRICT OF CALIFORNIA
                                           )
14   JEANNE LILLY,                         )
                                           )
15                     Defendant.          )
     _____________________________________ )
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17           Ms. Lilly initially appeared before the Court on July 13, 2006; she was released on an

18   unsecured bond the same day. The bond restricted her travel to the Northern District of

19   California, but Ms. Lilly’s family lives in the Eastern District of California. The government

20   and Pretrial Services do not object to modifying Ms. Lilly’s bond to allow travel in the Eastern

21   District of California. Therefore, IT IS HEREBY ORDERED that Jeanne Lilly’s bond is

22   modified to allow travel to the Eastern District of California.
                                                                      S DISTRICT
23   Date: July 19, 2006                                           ATE           C
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                                                   Honorable Wayne D. Brazil
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26                                                 Magistrate Judge,    D. BrazDistrict of California
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     Bond Modification Order, 4-06-70440              1              N                       C
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